    CaseCase: 16-17197, 10/22/2019,Document
         2:12-cv-00536-GMN-VCF      ID: 11472798,
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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                   October 21, 2019


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: AMG Capital Management, LLC, et al.
          v. Federal Trade Commission
          No. 19-508
          (Your No. 16-17197)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on
October 18, 2019 and placed on the docket October 21, 2019 as No. 19-508.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Clara Houghteling
                                        Case Analyst
